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UNITED STA TES DISTRICT COURT
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ROBERT BONDS (PEEPLES) J'UDGMENT IN A CIVIL CASE
v.
SHELBY COU'NTY, et al. CASE NO: 04-2879-D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND.ADJUDGED that in accordance with the Order Of
Dismissal entered on June 7, 2005, this cause is hereby dismissed.

APPROVED :

 

TED STATES DISTRICT COURT

Q<,W $/ /Q¢MJ/ ROBERT n. m memo
D t z Clerk of Court

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(By) Qaiuty Clerk

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UNITED STATES DISTRICT OURT- WESTERNDISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:04-CV-02879 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

Robert Bonds
03135616

201 Poplar Ave.
Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

